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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                   )
                                              )
                        Plaintiff,            )
                                              )
         v.                                   )       Cause No. 1:06-cr-8-17-LJM-DKL
                                              )
  WILLIAM S. PERRY,                           )
                                              )
                        Defendant.            )


               MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         This matter is before the Court pursuant to the October 5, 2012 Order entered by the

  Honorable Larry J. McKinney designating the duty Magistrate Judge to conduct a hearing on the

  Petition for Summons or Warrant for Offender Under Supervision filed on October 4, 2012.

  Pursuant to that Order, the Court herein submits proposed Findings of Facts and Recommendations

  for disposition under Title 18 U.S.C. §§ 3401(i) and 3583(e). Proceedings were held on October 9,

  2012, in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure.1

         On October 31, 2012, William S. Perry (“Perry”) appeared in person with appointed

  counsel, Gwendolyn Beitz and Joe Cleary. The government appeared by Josh Minkler, Assistant

  United States Attorney. U. S. Parole and Probation appeared by Diane Asher, U. S. Parole and

  Probation officer.

         The Court conducted the following procedures in accordance with Rule 32.1(b)(2), Fed. R.

  Crim. P. and Title 18 U.S.C. § 3583:



         1
          All proceedings were recorded by suitable sound recording equipment unless otherwise
  noted. See, Title 18 U.S.C. § 3401(e).
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        1.     Perry was re-advised of the nature of the violations alleged against him and

               acknowledged receipt of the notice of said allegations.

        2.     Perry stipulated that he committed Violations 1 through 6, as set forth in the Petition

               for Warrant or Summons for an Offender Under Supervision, filed with the Court on

               October 4, 2012 as follows:



   Violation           Nature of Noncompliance
   Number
         1             “The defendant shall not commit another federal, state, or local crime.”


         2             “The defendant shall refrain from excessive use of alcohol and shall not
                       purchase, possess, use, distribute, or administer any controlled substance or
                       any paraphernalia related to any controlled substance, except as prescribed
                       by a physician.”

         3             “The defendant shall not frequent places where controlled substances are illegally
                       sold, used, distributed, or administered.”


         4             “The defendant shall not associate with any persons engaged in criminal activity and
                       shall not associate with any person convicted of a felony, unless granted permission
                       to do so by the probation officer.”


         5             “The defendant shall support his or her dependents and meet other family
                       responsibilities.”

                       From as early as March 2010 to August 2011, William “Reggie” Perry was consistently
                       prescribed Hydrocodone. From August 2011 to January 2012, he was consistently
                       prescribed Oxycodone.

                       On February 1, 2012, a search was conducted at Perry’s residence. The residence, known
                       to be occupied by children, was littered with trash strewn across the floor, mouse feces,
                       dog feces, rotten food, and bugs. The case was referred to Child Protective Services for
                       further investigation.

                       A search of his person revealed he was in possession of $305 cash (a five dollar bill and
                       three one-hundred dollar bills). During a search of the residence, officers discovered a box
                       of 500 .22 caliber long rifle bullets. When questioned, Perry admitted he is an opiate


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                        addict and was taking Oxycodone in quantities higher than the prescribed doses. He also
                        admitted taking Hydrocodone without a prescription after purchasing individual pills from
                        various drug dealers. Perry admitted between August 2011 and January 2012, he
                        occasionally purchased opiate-based pills from dealers for various individuals after being
                        “fronted” money from these individuals. He admitted selling and giving away opiate-based
                        pills to other individuals at various times in December 2011. As of this date, no state
                        charges have been filed against the offender.

                        Dealing in a schedule II controlled substance (Oxycodone) is a Class B felony, pursuant
                        to Indiana Code 35-48-4-1(a). Dealing in a schedule III controlled substance
                        (Hydrocodone) is a Class B felony, pursuant to Indiana Code 35-48-4-2(a). Neglect of a
                        Dependent is a Class D felony, pursuant to Indiana Code 35-46-1-4. Possession of
                        ammunition by a convicted felon is a violation of 18 U.S.C. § 922(g).

                        This conduct was previously reported to the Court on February 27, 2012.
            6           “The defendant shall reside for a period of six months at a Residential Reentry
                        Center (RRC) as directed by the probation officer and shall observe the rules of
                        that facility.”


                        On February 29, 2012, in response to the noncompliance alleged in counts 1-5, the Court
                        ordered the defendant to serve six months at a RRC. On September 27, 2012, this officer
                        was notified by RRC staff that Mr. Perry was being terminated based on unapproved travel
                        to undisclosed destinations and failing to report prescription medications. Since beginning
                        his RRC term on May 11, 2012, he filled five, 120-count Oxycodone and four, 60-count
                        clonazepam prescriptions. The offender did not report the prescriptions, or his travels to
                        the pharmacies, to RRC staff.

                        It is noted the defendant was tested on numerous occasions during the time he was
                        prescribed these pills and only tested positive for opiate use once, on August 9, 2012.
                        When questioned, he was unable to provide any explanation as to how he was prescribed
                        the large volume of opiates, but only tested positive once.

       3.       The highest grade of Violation (Violation 1) is alleged as a Grade A violation, pursuant to

                U.S.S.G. § 7B1.1(a)(2).

       4.       Perry’s criminal history category is I.

       5.       The term of imprisonment applicable upon revocation of Perry’s supervised release,

                therefore, is 24-30 months’ imprisonment. See, U.S.S.G. § 7B1.4(a).

       6.       The parties agreed that revocation and a term of imprisonment of 24 months with no

                supervised release to follow was an appropriate disposition of the case.



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          The Court, having heard the admissions of the defendant, the stipulations of the parties, and the

  arguments and discussions on behalf of each party, NOW FINDS that the defendant, William S. Perry,

  violated the above-delineated condition in the Petition.

          The Magistrate Judge recommends that Mr. Perry’s supervised release be REVOKED and he be

  sentenced to the custody of the Attorney General or his designee for a period of 24 months, with no

  supervised release to follow.

          The Magistrate Judge requests that Diane Asher, U. S. Parole and Probation Officer,

  prepare for submission to the Honorable Larry J. McKinney, District Judge, as soon as practicable, a

  supervised release revocation judgment, in accordance with these findings of facts, conclusions of law and

  recommendation.

          The parties are hereby notified that the District Judge may reconsider any matter assigned to a

  Magistrate Judge pursuant to Title 28, U.S.C. §636(b)(1)(B) and (C) and Rule 72(b) of the Federal Rules of

  Civil Procedure. Any party desiring said review shall have 14 days after being served a copy of this Report

  and Recommendation to serve and file written objections to the proposed findings of facts and conclusions

  of law and recommendations of this Magistrate Judge.       If written objections to the Magistrate Judge’s

  proposed findings of fact and recommendations are made, the District Judge will make a de novo

  determination of those portions of the Report or specified proposed findings or recommendations to which

  an objection is made.

          WHEREFORE, the U. S. Magistrate Judge RECOMMENDS the Court adopt the above report and

  recommendation revoking Mr. Perry’s supervised release and imposing a sentence of imprisonment of 24

  months in the custody of the Attorney General or his designee with no supervised release to follow.

          IT IS SO RECOMMENDED this 6th day of November, 2012.




                                                     _______________________________
                                                      Tim A. Baker
                                                      United States Magistrate Judge
                                                      Southern District of Indiana
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